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                                                 U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
 AB:GK/KCB/NCG/SF                                      271 Cadman Plaza East
 F. # 2018R01041                                       Brooklyn, New York 11201



                                                       January 31, 2025

 By ECF

 The Hon. Diane Gujarati
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Cherwitz et al.
                        Criminal Docket No. 23-146 (DG)

 Dear Judge Gujarati:

               The government respectfully submits this letter in response to the Court’s January
 24, 2025 order and to notify the Court regarding potential conflicts of interest involving counsel
 for defendants Rachel Cherwitz and Nicole Daedone in the above-captioned case, and to request
 a hearing under United States v. Curcio, 680 F.2d 881, 888-90 (2d Cir. 1982).

                First, the government notifies the Court of a potential conflict involving the
 attorneys representing the defendant, Rachel Cherwitz. Specifically, Celia Cohen, Esq. and
 Michael Robotti, Esq. of Ballard Spahr LLP recently filed notices of appearance to represent
 Cherwitz. OneTaste, Inc. (“OneTaste”) is paying Cherwitz’s legal fees.

                  Second, the government notifies the Court of potential conflicts involving an
 attorney representing the defendant, Nicole Daedone. Specifically, Rachel Caine, Esq. recently
 filed a motion to appear pro hac vice to represent Daedone, which the Court granted. ECF Dkt
 No. 263. Ms. Caine is in-house counsel for OneTaste and is a potential fact witness in this case,
 as Ms. Caine knows about and has participated in conversations with government and potential
 defense witnesses, and the government currently plans to call a custodian for OneTaste to testify
 at trial regarding the authenticity of documents with which Ms. Caine is likely familiar (and, in
 some cases, is a participant to). Therefore, the government moves this Court to disqualify Ms.
 Caine from representing the defendant Daedone in this case, or alternatively, confirm that Ms.
 Caine will not participate in the trial so that any potential conflict as to Ms. Caine can be waived.

               The government advises the Court of this information pursuant to its obligation
 under Second Circuit law so the Court, in its discretion, may conduct the appropriate inquiry
 pursuant to Curcio. See, e.g., United States v. Stantini, 85 F.3d 9, 13 (2d Cir. 1996); United
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 States v. Malpiedi, 62 F.3d 465, 467 (2d Cir. 1995). In light of the change of the attorneys
 representing Cherwitz and the addition of an attorney representing Daedone, the government
 submits that a Curcio hearing would be appropriate.

                At the January 24, 2025 status conference, the defendants did not oppose any
 additional Curcio hearing on these subjects. On January 29, 2025, the government requested
 additional information from Ms. Bonjean, counsel for Daedone, regarding the scope of Ms.
 Caine’s participation in the forthcoming trial. Ms. Bonjean has not responded.

    I.        Background as to Counsel for Rachel Cherwitz

                 On or about January 6 and January 7, 2025, this Court held Curcio hearings to
 address potential conflicts of interest as to the defendant Cherwitz regarding her then-attorneys
 and was represented at those hearings by Ms. Cohen, who was then acting as Cherwitz’s
 independent counsel to advise Cherwitz as to potential conflicts related to Cherwitz’s then-
 representation. Dkt. Entries 1/06/2025; 1/07/2025. Following those hearings, Cherwitz’s then-
 counsel moved to withdraw, which this Court granted. ECF Dkt. No. 256. On January 15, 2025,
 Ms. Cohen and Mr. Robotti filed their notices of appearance for Cherwitz. Cherwitz’s legal fees
 continue to be paid by OneTaste. See ECF Dkt. No. 151 (government’s Curcio letter noting that
 OneTaste paid Cherwitz’s legal fees as to her prior counsel). Cherwitz previously waived any
 conflict resulting from her legal fees being paid by OneTaste. See ECF Dkt. No. 161.

    II.       Background as to Counsel for Nicole Daedone

                Counsel for Nicole Daedone previously requested that Rachel Caine, Esq., in-
 house counsel for OneTaste, be added to the Protective Order in this case to access and review
 discovery. At a hearing regarding the Protective Order before the Honorable Robert M. Levy,
 counsel for Daedone represented that counsel for OneTaste, including Rachel Caine, was an
 essential member of the defense team for Daedone. See ECF No. 201-1, ¶ 2 (defining “Defense
 Staff” to include Kevin Williams and Rachel Caine); Nov. 15, 2024 Tr. at 22, 34-36 (defense
 counsel describing necessity for Daedone’s criminal defense of working with attorneys for
 OneTaste). At that hearing, the government noted that Rachel Caine was a potential witness in
 the case because she was at OneTaste at the time of relevant events. Id. at 38.

               On January 27, 2025, Ms. Caine filed a formal request to be admitted to practice
 before this Court pro hac vice to represent Nicole Daedone in this case. ECF No. 263. In her
 sworn affidavit, Ms. Caine represented herself to be counsel for Ms. Daedone, and her signature
 block included her email address at a OneTaste domain, rachel.caine@onetaste.us. Id.

    III.      Applicable Law

           A. Overview

                The Sixth Amendment affords a criminal defendant the right to effective
 assistance of counsel. See Wood v. Georgia, 450 U.S. 261, 271 (1981); United States v. Perez,
 325 F.3d 115, 124 (2d Cir. 2003). That right, however, is not absolute and does not guarantee
 the defendant counsel of her own choosing. See United States v. Jones, 381 F.3d 114, 119 (2d


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 Cir. 2004); United States v. Locascio, 6 F.3d 924, 931 (2d Cir. 1993). While there is a
 “presumption in favor of the [defendant’s] chosen counsel, such presumption will be overcome
 by a showing of an actual conflict or a potentially serious conflict.” Jones, 381 F.3d at 119
 (citing Locascio, 6 F.3d at 931); see also Wheat v. United States, 486 U.S. 153, 164 (1988).

                  To determine if the defendant’s counsel is burdened by a conflict of interest, a
 district court “must investigate the facts and details of the attorney’s interests to determine
 whether the attorney in fact suffers from an actual conflict, a potential conflict, or no genuine
 conflict at all.” United States v. Levy, 25 F.3d 146, 153 (2d Cir. 1994). An actual conflict exists
 “when the attorney’s and the defendant’s interests diverge with respect to a material factual or
 legal issue or to a course of action, or when the attorney’s representation of the defendant is
 impaired by loyalty owed to a prior client.” Jones, 381 F.3d at 119 (internal quotation marks and
 citations omitted). A potential conflict arises if “the interests of the defendant could place the
 attorney under inconsistent duties in the future.” Id. (emphasis and citations omitted).

                1.     Mandatory Disqualification

                If an attorney suffers from an actual or potential conflict of such a serious nature
 that no rational defendant would knowingly and intelligently desire that attorney’s
 representation, the court must disqualify that attorney. See United States v. Lussier, 71 F.3d 456,
 461-62 (2d Cir. 1995). Such per se conflicts of interest are not only unwaivable, but are of such
 a serious nature that if allowed to persist through trial and conviction, on appeal they result in
 automatic reversal without requiring a showing of prejudice. United States v. Williams, 372
 F.3d 96, 103 (2d Cir. 2004). The Second Circuit has recognized only two categories of conflicts
 that are unwaivable: where “counsel” is not admitted to the bar of any court and where counsel
 is implicated in the defendant’s crimes.

                2.     Discretionary Disqualification

                 Regardless of the severity of the conflict or the defendant’s willingness to waive
 the conflict, “[f]ederal courts have an independent interest in ensuring that criminal trials are
 conducted within the ethical standards of the profession and that legal proceedings appear fair to
 all who observe them.” Wheat, 486 U.S. at 160. “The question of [attorney] disqualification
 therefore implicates not only the Sixth Amendment right of the accused, but also the interests of
 the courts in preserving the integrity of the process and the government’s interests in ensuring a
 just verdict and a fair trial.” Locascio, 6 F.3d at 931. Accordingly, “a district court should
 decline to permit a defendant to be represented by the counsel of his choice if that representation
 would undermine the integrity of the judicial process.” United States v. DiPietro, No. 02 CR
 1237 (SWK), 2004 WL 613073, at *4 (S.D.N.Y. Mar. 29, 2004) (citing Wheat, 486 U.S. at 163).

                3.     Conflicts That May Be Waived

               If a conflict is such that a rational defendant could knowingly and intelligently
 choose to continue to be represented by the conflicted attorney, the Court must obtain directly
 from the defendant a valid waiver in accordance with the procedures set forth in Curcio, 680
 F.2d 881. See, e.g., Malpiedi, 62 F.3d at 470; Levy, 25 F.3d at 153; United States v. Iorizzo, 786




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 F.2d 52, 58-59 (2d Cir. 1986). In summarizing Curcio procedures, the Second Circuit has
 instructed the trial court to:

                (i) advise the defendant of the dangers arising from the particular
                conflict; (ii) determine through questions that are likely to be
                answered in narrative form whether the defendant understands
                those risks and freely chooses to run them; and (iii) give the
                defendant time to digest and contemplate the risks after
                encouraging him or her to seek advice from independent counsel.

 Iorizzo, 786 F.2d at 59; see also Curcio, 680 F.2d at 888-90. By relying on waivers of potential
 conflict claims, courts are spared from having to wade into the intricacies of those claims.
 United States v. Jiang, 140 F.3d 124, 128 (2d Cir. 1998).

                  Finally, the need for a Curcio hearing exists regardless of whether a case is
 disposed of by way of guilty plea or trial. “A claim that counsel is conflicted is in essence a
 claim of ineffective assistance of counsel.” Stantini, 85 F.3d at 15. Likewise, “[e]ffective
 assistance of counsel includes counsel’s informed opinion as to what pleas should be entered.”
 Boria v. Keane, 99 F.3d 492, 497 (2d Cir. 1996). Therefore, it necessarily follows that a
 defendant has a right to conflict-free representation during the plea negotiation stage. See id.
 (“[P]rior to trial an accused is entitled to rely upon his counsel to make an independent
 examination of the facts, circumstances, pleadings and laws involved and then to offer his
 informed opinion as to what plea should be entered.” (quoting Von Moltke v. Gillies, 332 U.S.
 708, 721 (1948) (emphasis added)); see also Stantini, 85 F.3d at 16-17 (suggesting that
 ineffective assistance of counsel may be shown if attorney’s dual representation led to
 inadequate advice “with respect to the advantages or disadvantages of a plea”). In cases where,
 as here, multiple conflicts have been raised, the district court must consider the conflicts in
 totality, and not in isolation. See Levy, 25 F.3d at 157.

        B. Third-Party Payment of Legal Fees

                A conflict may arise when an attorney is paid by a third party, rather than by his
 or her own client. “[B]enefactor payments . . . may subject an attorney to undesirable outside
 influence and raise[] an ethical question as to whether the attorney’s loyalties are with the client
 or the payor.” Locascio, 6 F.3d at 932 (quoting In re Grand Jury Subpoena Served Upon John
 Doe, Esq., 781 F.2d 238, 248 n.6 (2d Cir. 1986) (en banc)); see also United States v. Arakelian,
 No. 04 Cr. 447 (RPP), 2005 WL 2173923, *6-7 (S.D.N.Y. Sept. 6, 2005) (describing Curcio-
 related inquiry related to potential benefactor payments).

                  “By their very nature, third-party fee arrangements create numerous ethical
 pitfalls into which even the most wary criminal defense attorney may stumble.” United States v.
 Duran-Benitez, 110 F. Supp. 2d 133, 151-52 (E.D.N.Y. 2000) (citing New York Disciplinary
 Rule 5-107); see also Restatement § 134(1) (“A lawyer may not represent a client if someone
 other than the client will wholly or partly compensate the lawyer for the representation, unless
 the client consents . . . and knows of the circumstances and conditions of the payment.”). “These
 ethical pitfalls become especially dangerous when a defendant’s lawyer is hired and paid by ‘the
 operator of the alleged criminal enterprise.’” Duran-Benitez, 110 F. Supp. 2d at 152 (quoting


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 Wood, 450 U.S. at 269). In such situations, the Supreme Court wrote in Wood, there exists a
 “risk that the lawyer will prevent his client from obtaining leniency by preventing the client from
 offering testimony against his former employer or from taking other actions contrary to the
 employer’s interest.” Wood, 450 U.S. at 269; see also In re: Grand Jury Subpoena Served Upon
 John Doe, Esq., 781 F.2d at 248 n.6 (noting that when “the third party is the head of a criminal
 enterprise of which the clients are members... an ethical question arises as to whether the
 attorney’s loyalties are with the client or the payor”).

        C. In-House Attorneys Representing Individual Officers

               It is well-settled that an in-house lawyer to an organization represents that
 organization and therefore owes a duty to act in accordance with the interests of the organization.
 See Evans v. Artek Sys. Corp., 715 F.2d 788, 792 (2d Cir. 1983) (“A ‘corporate attorney’ –
 whether an in-house lawyer or a law firm that serves as counsel to the company – owes a duty to
 act in accordance with the interests of the corporate entity itself. His client is the corporation.”).
 A lawyer representing an organization may also represent any of its directors, officers,
 employees, members, shareholders or other constituents, subject to the rules governing conflicts
 of interest. Model Rules of Professional Conduct 1.13(g). If, however,

          a lawyer for an organization knows that the officer [or] employee . . . is
          engaged in action, intends to act or refuses to act in a manner related to the
          representation that is a violation of a legal obligation to the organization, or a
          violation of law that reasonably might be imputed to the organization, and that
          is likely to result in substantial injury to the organization, then the lawyer shall
          proceed as is reasonably necessary in the best interest of the organization.

 Id. 1.13(b). If there is a potential conflict of interest between representing an organization and
 individual, the organization’s consent to the concurrent representation is required and must be
 given by an appropriate official of the organization, other than the individual who is to be
 represented. Id. 1.13(g).

        D. Attorneys as Unsworn Witnesses

                 A lawyer is generally barred from acting as both an advocate and a witness in the
 same proceeding. Model Rules of Professional Conduct Rule 3.7(a); Ciak v. United States, 59
 F.3d 296, 304-05 (2d Cir. 1995). In particular, when a witness is expected to testify about a
 conversation with counsel where counsel’s statements can be interpreted in a way that implicates
 the client, a conflict of interest exists if the lawyer ought to be a rebutting witness, “either to
 deny the conversation, or to provide an innocent explanation for the jury to consider.” United
 States v. Cunningham, 672 F.2d 1064, 1074 (2d Cir. 1982) (approving disqualification of lawyer
 and his firm if district judge determined on remand that testimony of witness is admissible).
 Whether or not the lawyer actually testifies, by trying to impeach the witness during cross-
 examination and by arguing in summation about what the conversation means, the lawyer
 becomes an unsworn witness. United States v. Iorizzo, 786 F.2d 52, 57 (2d Cir. 1986). “The
 risk that [a lawyer will] become a witness at trial [is] enough alone to . . . reach this
 determination [to disqualify] under an abuse of discretion standard,” Jones, 381 F.3d at 121,



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 provided that the testimony at issue is squarely relevant. United States v. Kwang Fu Peng, 766
 F.2d 82, 87 (2d Cir. 1985).

                  The Second Circuit has explained that agreeing “to limit inquiry to avoid the
 problem of counsel as an unsworn witness may be appropriate in some circumstances.” United
 States v. Kliti, 156 F.3d 150, 156 n.7 (2d Cir. 1998) (reversing conviction for failure to hold
 Curcio hearing to determine if defendant consented to limiting cross-examination). A stipulation
 may be used to avoid disqualification of an advocate-witness. Torres v. Donnelly, 554 F.3d 322,
 326 (2d Cir. 2009) (conflict negated by stipulation that obviated need for defense counsel’s
 testimony). “A Curcio hearing is required whenever a defendant would forego important
 testimony by his attorney because of his attorney’s continued representation of him.” Kliti, 156
 F.3d at 155.

                 In Kliti, the Second Circuit vacated a conviction and ordered a new trial where it
 became apparent during the trial that the defense attorney could have been called as a fact
 witness to support his client’s defense, but was not permitted to testify and where no Curcio
 waiver was secured from the defendant. See Kliti, 156 F.3d at 155-57. Specifically, during the
 government’s direct case in Kliti, the government called an accomplice witness to provide
 evidence of the defendant’s participation in the charged counterfeit check scheme. See id. at
 155. During the course of cross-examination, the accomplice witness denied ever telling Kliti,
 his attorney Sarikas and a third party that Kliti had “absolutely nothing to do with” the
 counterfeit check scheme. Id. at 155-56. Defense counsel explained to the Court, out of the
 jury’s presence, that the accomplice witness had, in fact, made that statement. See id. at 155.
 However, because Kliti chose not to testify at trial and because the third party invoked his Fifth
 Amendment privilege and refused to testify, Sarikas was the only other witness who could be
 called to refute the accomplice’s version of events. See id. at 155-56. At that point, Sarikas was
 “in a clear conflict because he was faced with the choice of (1) testifying on behalf of his client,
 which would result in his disqualification, or (2) not presenting evidence of the exculpatory
 statement.” Id. at 156 (footnote omitted). A Curcio hearing was neither asked for nor
 undertaken, Sarikas did not testify, and the defendant was convicted.

              The Second Circuit vacated the conviction. According to the Court, under the
 above-described circumstances, the district court

                was obligated to question Kliti, in accordance with Curcio, to
                determine whether he was willing to waive his right to a conflict-
                free lawyer and to forgo confronting [the accomplice witness] with
                the exculpatory statement through the testimony of Sarikas. The
                [district] court should have explained to Kliti that Sarikas could not
                be a witness — sworn or unsworn — while Sarikas was representing
                Kliti, but that if Kliti were represented by another attorney, that
                attorney would be able to call Sarikas as a witness and have him
                testify about the statement.

 Id. at 156-57 (citing United States v. Dennis, 843 F.2d 652, 656 (2d Cir. 1998); Cunningham,
 672 F.2d at 1075)).



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                Where defense counsel is entangled in the facts of the defendant’s case such that
 she should either be available as a witness or would, upon remaining as defense counsel,
 “become an unsworn witness for the accused,” it is counsel’s ethical duty to withdraw, and upon
 failing to do so, counsel should be disqualified, regardless of the defendant’s expressed
 willingness to waive. Locascio, 6 F.3d at 931-34. Because the government, not the defendant, is
 prejudiced, “waiver . . . by the defendant is ineffective in curing the impropriety in such
 situations.” Id. at 931, 934; see also United States v. Liszewski, No. 06 CR 130 (NGG), 2006
 WL 2376382, at *3 (E.D.N.Y. Aug. 16, 2006).

    IV.      The Government’s Proposal with Respect to Defendant Cherwitz

                As described above, the government has identified a potential conflict facing
 counsel for Cherwitz in this case because Cherwitz’s legal fees are being paid by OneTaste, a
 third party. See United States v. Raniere, 18-CR-204 (NGG), ECF Dkt. No. 266 (observing that
 a potential conflict arises where the choice of defense strategy may influence decisions on the
 part of those who are paying for legal fees). While a previous Curcio hearing in this matter
 addressed the payment of Cherwitz’s legal fees by OneTaste, Cherwitz has not yet explicitly
 waived a potential conflict for present counsel as to payment of legal fees by OneTaste.
 Accordingly, in an abundance of caution, the government submits that a Curcio inquiry is
 appropriate to determine whether Cherwitz is willing and able to make a knowing and voluntary
 waiver of the specific potential conflict with OneTaste. The government also requests that
 Cherwitz have the opportunity, if she wishes, to retain independent counsel, given that her prior
 independent counsel now represents her in connection with this case. 1 The government thus
 proposes that the Court advise her as it did previously with respect to this conflict, as noted
 below.

                         I am advised that your attorneys are being paid by OneTaste,
                 Inc. (“OneTaste”), a company that has at least some connection with
                 the facts of your case and may even be a subject of the government’s
                 investigation.

                        Before we proceed, I must ask you some questions about this
                 arrangement. Are you satisfied with the services of your attorneys
                 thus far in the case?

                       Has anyone induced, threatened or made promises to you
                 concerning your choice of counsel in this case?

                        Is it correct that OneTaste is paying your attorneys? How
                 long has that been the case? Is anyone else paying your attorneys to
                 represent you?




          1 The Court could appoint such counsel in the event that OneTaste would otherwise pay

 the legal fees of any retained independent counsel.



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                    Do you have an understanding whether, in the future,
            OneTaste will continue to pay, indemnify, or reimburse your legal
            fees in this case? What is your understanding?

                   To your understanding, are there any explicit or implicit
            conditions on OneTaste’s agreement to pay your legal fees
            regarding actions you and your attorneys must or may not take or
            arguments you or your attorneys must or may not make?

                    I am going to describe to you some potential risks raised by
            this payment arrangement. By describing these potential risks, in no
            way am I suggesting that your lawyers are conflicted or that their
            defense of you has or will be impacted in the ways I am about to
            describe. Instead, I am pointing out to you a series of entirely
            hypothetical ways this arrangement can potentially raise conflicts of
            interest for counsel.

                    When an attorney is paid by a third party like OneTaste, an
            attorney could be influenced by the third party, even
            subconsciously, in connection with their representation of you, that
            is, they could be influenced to advise you to do things that are in the
            third party’s best interests and not in your best interests.

                   For instance, if OneTaste or members of OneTaste
            leadership are involved in the alleged crime, OneTaste may have a
            vested interest in having your lawyers advise you to accept sole
            responsibility for the unlawful scheme or to minimize OneTaste’s
            involvement with or knowledge of the scheme. Do you understand
            that?

                    Similarly, if a trial in this case could cast a negative light on
            OneTaste, or, alternatively, if a guilty plea in this case could cast a
            negative light on OneTaste, or if certain arguments in this case could
            help or hurt OneTaste, OneTaste may have a vested interest in
            having your lawyers advise you to make your decision about what
            to do and what arguments to make to best serve OneTaste’s interests,
            rather than your own. Do you understand that?

                    OneTaste may have a vested interest in having your lawyers
            advise you not to seek to cooperate with the government, even if that
            might be in your interest, where your cooperation might directly or
            indirectly affect OneTaste. Do you understand that?

                   There may be other issues, in addition to the ones that I’ve
            just described, that can arise in which your attorneys’ ability to
            represent you might be affected by the fact that they have been paid




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            by OneTaste. No one can foresee every possible conflict of interest.
            Do you understand that?

                    Do you have any questions about what I have explained to
            you so far? Can you tell me in your own words what you understand
            the potential conflicts of interest to be?

                    You have the right to be represented by an attorney who does
            not have any possible conflicts of interest in representing you at all
            stages of this case, including any plea negotiations. If you proceed
            with your attorney, you will be giving up that right. Do you
            understand that?

                   Have you discussed these issues with your attorneys?

                   Without discussing the substance of any written
            communications between you and your attorneys, can you please
            confirm whether you have signed any documents memorializing
            your understanding of the potential conflicts of interest and your
            desire nonetheless to proceed with your current attorneys as your
            counsel?

                   You also have the right to consult with an independent
            attorney, and if necessary to the Court can appoint independent
            counsel at no cost to you, who can advise you about the possible
            conflicts of interest that might arise if you proceed with your
            attorney. Do you understand that? Have you consulted with an
            independent attorney? Do you wish to have the Court appoint an
            independent attorney?

                   You also have the right to be represented by counsel, and if
            necessary to have the Court appoint counsel at no cost to you, during
            plea negotiations, at trial and at every other stage of the proceeding.
            Do you understand that?

                   If you proceed to trial with your current counsel and you are
            convicted at trial, do you understand that you will not make and
            cannot make any argument on appeal or otherwise attack the
            conviction based the potential conflict we have discussed here
            today?

                    You are not under any pressure to make a decision about this
            right now. You are entitled, if you wish, to a reasonable period of
            time to think about these matters, or to consult further with your
            lawyer or with another lawyer before you advise the Court what you
            wish to do. Is there anything that the Court has said that you wish
            to have explained further?



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     V.      The Government’s Motion to Disqualify Rachel Caine as Trial Counsel to Nicole
             Daedone

                 The government respectfully submits that Ms. Caine should be disqualified from
 serving as trial counsel to the defendant Daedone.

                First, as noted above, to the government’s knowledge, Rachel Caine is in-house
 counsel for OneTaste, and Daedone is the former CEO of OneTaste. Whatever alignment of
 interests might exist now between OneTaste and Daedone, their interests could diverge. To the
 extent Daedone’s interests are incompatible with the duties Ms. Caine owes to OneTaste, Ms.
 Caine would be precluded from pursuing certain lines of defense on Daedone’s behalf. For
 example, Daedone could theoretically pursue an advice-of-counsel defense2 and waive privilege,
 thereby placing Ms. Caine’s advice at issue in the case and converting counsel into a potential
 fact witness. And although a potential conflict stemming from in-house counsel of an
 organization representing a former officer of the organization may be waivable, see Model Rules
 of Professional Conduct 1.13(g), as noted above, Ms. Caine is also a potential fact witness in this
 case independent from her role as an attorney.

                Second, as the defense has repeatedly noted, Ms. Caine has institutional
 knowledge regarding the case due to her knowledge of and personal involvement with potential
 witnesses. See Nov. 15, 2024 Tr. at 36 (counsel noting she requires Ms. Caine’s institutional
 knowledge as to witnesses and stating “if I can’t consult Mr. Williams or Rachel Caine, who are
 counsel for OneTaste, I can’t do my job.”). Likewise, the government has previously noted that
 Ms. Caine is a potential witness. Id. at 38. Indeed, Rachel Caine’s name appears on at least 72
 potential government exhibits, including exhibits that do not concern legal services, such as sales
 communications. Throughout her time at OneTaste, Ms. Caine interacted with government
 witnesses and potential defense witnesses and was present for key events. While the government
 does not intend to call Ms. Caine as a witness, the possibility remains that should witnesses
 provide testimony regarding certain events that is inconsistent with Ms. Caine’s recollection of
 those events, Ms. Caine could herself become a witness. See Jones, 381 F.3d at 121 (“The risk
 that [a lawyer will] become a witness at trial [is] enough alone to . . . reach this determination [to
 disqualify] under an abuse of discretion standard.”). Additionally, the government may call a
 custodian from OneTaste to testify as to the authenticity of certain documents. Due to her role as
 in-house counsel to OneTaste, Ms. Caine may have information regarding the authenticity of
 these documents.

               Based on the facts set forth above, the government respectfully submits that Ms.
 Caine should be disqualified from serving as trial counsel to Daedone, meaning that she must be


          2 At present, the government has no indication that the defendant will pursue such a

 defense or that such a defense is legally available. Moreover, even if the defendant sought to
 pursue such a defense, at this juncture, it is not clear to the government that the defendant could
 do so without first obtaining a waiver from OneTaste, which may be the privilege-holder of
 advice rendered during Daedone’s time at OneTaste. The government reserves the right to
 challenge the propriety of the assertion of any such defense at an appropriate time, if necessary.



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 required to confirm on the record that she will not be present at counsel table at trial or conduct
 any direct or cross-examinations of witnesses, or deliver any jury addresses.

                In the event that the Court determines that (i) Ms. Caine is not serving as trial
 counsel to Daedone; (ii) OneTaste consents to Ms. Caine’s representation of Daedone; and
 (iii) Daedone can waive the potential conflicts of interest, the government proposes that the
 Court advise the defendant Daedone as follows:

                        Ms. Caine, who recently filed a motion to appear as counsel
                in this case to represent you, also represents OneTaste. As your
                attorney, Ms. Caine has certain ethical obligations to you,
                including absolute duties of loyalty and confidentiality. However,
                she also has these obligations to OneTaste. For example, Ms.
                Caine may not investigate leads, introduce evidence, or make
                arguments on your behalf that might tend to incriminate OneTaste,
                or otherwise be contrary to OneTaste’s interests. Do you
                understand this?

                       There is a possibility that your interests with OneTaste will
                diverge, before, during or even after trial, that could create a
                conflict between Ms. Caine’s loyalties to you and to OneTaste. Do
                you understand this?

                        Ms. Caine may have provided legal advice to OneTaste
                while you were CEO of OneTaste. Under most circumstances, the
                law protects your communications with your lawyers from being
                disclosed to anyone else unless you choose to disclose them. This
                is what is known as the “attorney-client privilege.” Certain
                decisions you make, however, can result in a waiver of that
                privilege, and the government would be entitled to know about
                some of your communications with your attorneys. For example,
                if you call Ms. Caine to testify about advice that she gave you
                while at OneTaste, this is one instance that would result in a
                waiver of at least some aspects of your attorney-client privilege. It
                would be up to the Court to determine what communications or
                information may be disclosed because of your waiver of attorney-
                client privilege. Moreover, the privilege relating to this advice
                may belong to OneTaste, and therefore OneTaste would be entitled
                to waive or maintain the privilege, even if you took a contrary
                position. Do you understand that?

                          I am advised that the government anticipates that witnesses
                might testify at trial regarding events at which your attorney Ms.
                Caine was also present. After hearing these witnesses’ testimony
                at trial, you might wish to call Ms. Caine as a witness on your
                behalf to contradict that testimony. It is a conflict of interest for



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             Ms. Caine to be a witness on your behalf and serve as your
             attorney at trial.

                     There may be other issues, in addition to the ones that I’ve
             just described. No one can foresee every possible conflict of
             interest. Do you have any questions about what I have just
             explained to you? Can you tell me in your own words what you
             understand the potential conflicts of interest to be?

                      You have the right to be represented by an attorney who
             does not have any possible conflicts of interest in representing you
             at all stages of this case, including any plea negotiations. If you
             proceed with Ms. Caine, you will be giving up that right. Do you
             understand that?

                     Because you have another lawyer representing you during
             the trial, if a conflict of interest were to arise during trial, Ms.
             Caine may be disqualified from representing you, and you would
             not be permitted to delay the remainder of the trial. Do you
             understand that?

                    Have you discussed these issues with Ms. Caine?

                    You also have the right to consult with an independent
             attorney who can advise you about the possible conflicts of interest
             that might arise if you proceed with Ms. Caine. You are also
             represented by Ms. Bonjean. Do you understand that?

                    Have you discussed these issues with Ms. Bonjean?

                     You are not under any pressure to make a decision about
             this right now. You are entitled, if you wish, to a reasonable
             period of time to think about these matters, or to consult further
             with your lawyers or with another lawyer, including a lawyer
             appointed by the Court if necessary, before you advise the Court
             what you wish to do.

                    If you have had enough time to consider the issues I have
             advised you on today, do you wish to waive the potential conflicts
             posed by Ms. Caine representing you?




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    VI.     Conclusion

                For the foregoing reasons, the Court should notify the defendant Cherwitz of the
 potential conflict raised above and conduct an appropriate inquiry pursuant to Curcio. The Court
 should further advise the defendant regarding her right to conflict-free representation and
 determine if she can waive those rights, and whether the Court, in its discretion, should accept
 that waiver.

                Additionally, the Court should disqualify Ms. Caine from serving as trial counsel
 to the defendant Daedone. In the alternative, the Court should confirm that Ms. Caine does not
 intend to represent Daedone as trial counsel and conduct an appropriate inquiry pursuant to
 Curcio to determine if Daedone can waive her rights as to the potential conflicts set forth above,
 and whether the Court, in its discretion, should accept that waiver.



                                                     Respectfully submitted,

                                                     JOHN J. DURHAM
                                                     United States Attorney

                                              By:      /s/
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